           Case 2:21-cr-00579-DMG Document 10 Filed 12/21/21 Page 1 of 1 Page ID #:48




                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
United States of America                                           CASE NUMBER

                                                    PLAINTIFF(S)                        2:21-cr-00579 JAK
                                 v.
Matthew Funke
                                                                         ORDER RE TRANSFER PURSUANT TO
                                                                      GENERAL ORDER 21-01 (Related Criminal Cases)
                                                   DEFENDANT(S).

                                                            CONSENT
          I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 21-01.

         December 21, 2021
                  Date                                    Dolly M. Gee, United States District Judge


                                                         DECLINATION
          I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth below:




                  Date                                      United States District Judge
                                  REASON FOR TRANSFER AS INDICATED BY COUNSEL

          Case 2:21-cr-00571 DMG                              and the present case:
                A. Arise out of the same conspiracy, common scheme, transaction, series of transactions or events; or
                B. Involve one or more defendants in common, and would entail substantial duplication of labor in pretrial,
                    trial or sentencing proceedings if heard by different judges.

                                                    Notice to Counsel from Clerk

          On all documents subsequently filed in this case, please substitute the initials       DMG             after the case
number in place of the initials of the prior judge, so that the case number will read 2:21-cr-00579 DMG                           .
This is very important because documents are routed to the assigned judge by means of these initials.




cc:         PSALA           PSAED          USMLA         USMSA          USMED          Previous Judge     Statistics Clerk

CR-59 (03/21)                ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 21-01 (Related Criminal Cases)
